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                   UNITED STATES DISTRICT COURT FOR THE
                    SOUTHERN DISTRICT OF WEST VIRGINIA
                               AT CHARLESTON


IN RE: PEDRO ANGEL MUNOS                        MAGISTRATE NO: 2:10-mj-00002


                   SEALED MEMORANDUM OPINION AND ORDER

        The court has filed under seal today a target letter directed

to the above-named individual.               It is ORDERED that the Federal

Public Defender designate counsel for the targeted individual.                      It

is   further    ORDERED     that   the   Federal     Public    Defender     provide

appointed counsel with a copy of (1) the target letter, and (2)

this sealed memorandum opinion and order.

        Whether a right of public access to the target letter, the

affidavit, or this order derives from the common law or the First

Amendment, and assuming further that these documents qualify as

“judicial records” as that term is used in our court of appeals’

precedent,     there      are   compelling    reasons     to   seal   the   case.

Foremost, the targeted individual has not been charged with a

crime.     The disclosure of the targeted individual’s identity at

this point would be akin to the disclosure of matters occurring

before the grand jury.           See United States v. Sells Engineering,

Inc.,     463 U.S. 418, 424-25 (1983) (“‘[B]y preserving the secrecy

of the proceedings, we assure that persons who are accused but

exonerated by the grand jury will not be held up to public

ridicule.’      Grand jury secrecy, then, is ‘as important for the

protection of the innocent as for the pursuit of the guilty.’”)
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(citations omitted); United States v. E-Gold, Ltd., 521 F.3d 411,

420 (D.C. Cir. 2008)(same).          Indeed, the target letter indicates

that this matter is being presented to the grand jury on February

2, 2010.

     Additionally, the court is not privy to the details of the

ongoing investigation involving the targeted individual. Depending

upon the nature of that inquiry, public disclosure of the targeted

individual’s name might also compromise the investigation of others

and possibly endanger the targeted individual, whether or not that

individual ultimately chooses to cooperate in the investigation.

Apart from that consideration, however, is a further justification

for sealing.     The sole reason that this matter is presently of

record is to reflect the appointment of counsel given the targeted

individual’s lack of sufficient funds to hire a lawyer.                     If a

targeted individual is not indigent, he or she would simply retain

private counsel without having to seek a court appointed lawyer,

and without the attendant risk of it becoming publicized that the

individual has fallen under suspicion by law enforcement.                   Fair

process suggests that similarly situated individuals should be

treated alike without regard to their station in life.                A sealing

order achieves that end.

     As required by controlling precedent, the court has considered

other alternatives short of an absolute seal.            Indeed, it would be

the court’s preference to seal only the targeted individual’s


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identity    and   identifying   information.          Court   personnel    have

submitted an Emergency Modification Request (EMR) that would permit

the CM/ECF software to allow the sealing of a targeted individual's

identity alone instead of requiring that the entire case be sealed.

     The court is aware of the obligation to provide public notice

of a sealing order and a reasonable opportunity to challenge the

decision.   See, e.g., Virginia Dept. of State Police v. Washington

Post, 386 F.3d 567, 576 (4th Cir. 2004).              The court understands

that the public may use the PACER system to generate a report of

criminal cases for a given period.         If an interested person runs

the report, sealed actions do not appear among the numerically

sequenced cases.    If, however, the interested party simply keys in

a case number missing from the sequenced cases, he or she will

receive a message stating “This case is SEALED.”              The court deems

this device sufficient to provide notice to interested members of

the public that a case has been sealed. Should an interested party

object to continued sealing, she may then request an opportunity to

be heard. Cf. Media General Operations, Inc. v. Buchanan, 417 F.3d

424, 430 (4th Cir. 2005 ) (“We agree that members of the press and

the public must ordinarily be given notice and opportunity to

object to sealing of public documents. But, in the context of

search warrant documents, the opportunity to object does not arise

prior to the entry of a sealing order when a search warrant has not

been executed. . . . Because the sealing order was made public upon


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the execution of the search warrant and petitioners were then given

an opportunity to object to the sealing of the affidavits, the

notice requirement was satisfied.”).1

     Accordingly, the court ORDERS the Clerk to seal this action

provisionally until such time, if ever, that (1) an interested

party demonstrates that continued sealing is unwarranted, or (2)

the grand jury returns an indictment, or the United States Attorney

files an information, naming the targeted individual.

     The Clerk is further directed to forward copies of this Sealed

Memorandum Opinion and Order to the targeted individual, the

Federal Public Defender’s Office, and Philip H. Wright, Chief,

Criminal Division, U.S. Attorney’s Office.

                                         ENTER: January 7, 2010.




     1
      In Buchanan for example, the court of appeals noted that
there was no right to view or object to sealing orders relating to
search warrants prior to the time of their execution. The bases
for that decision included the fact that pre-search publication of
the matter might tip off the person subject to the warrant,
resulting in the destruction or removal of evidence, or endanger
law enforcement. Similar concerns arise here by analogy.

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